                                          Case 5:13-cv-02354-BLF Document 650 Filed 02/13/19 Page 1 of 2




                                   1

                                   2

                                   3                                  UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     JESSE HERNANDEZ, et al.,                           Case No. 13-cv-02354-BLF
                                   8                    Plaintiffs,
                                                                                            ORDER DENYING COUNTY’S
                                   9             v.                                         ADMINISTRATIVE MOTION TO FILE
                                                                                            UNDER SEAL
                                  10     COUNTY OF MONTEREY, et al.,
                                                                                            [Re: ECF 644]
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Defendant County of Monterey has filed an Administrative Motion to File Under Seal

                                  14   (ECF 644), seeking to file under seal certain documents the County has submitted in opposition to

                                  15   Plaintiffs’ Motion for Attorneys’ Fees and Expense. Specifically, the County requests sealing of

                                  16   the Declaration of Anne K. Brereton in Support of Opposition to Motion for Attorneys’ Fees and

                                  17   Exhibits A through D thereto, in their entirety.

                                  18          “Historically, courts have recognized a ‘general right to inspect and copy public records

                                  19   and documents, including judicial records and documents.’” Kamakana v. City and Cnty. of

                                  20   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435

                                  21   U.S. 589, 597 & n.7 (1978)). Consequently, filings that are “more than tangentially related to the

                                  22   merits of a case” may be sealed only upon a showing of “compelling reasons” for sealing. Ctr. for

                                  23   Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101-02 (9th Cir. 2016). Filings that are only

                                  24   tangentially related to the merits may be sealed upon a lesser showing of “good cause.” Id. at

                                  25   1097. Sealing motions filed in this district also must be “narrowly tailored to seek sealing only of

                                  26   sealable material.” Civil L.R. 79-5(b). A party moving to seal a document in whole or in part

                                  27   must file a declaration establishing that the identified material is “sealable.” Civ. L.R. 79-

                                  28   5(d)(1)(A).
                                          Case 5:13-cv-02354-BLF Document 650 Filed 02/13/19 Page 2 of 2




                                   1          The good cause standard governs, because the sealing request relates to evidence offered to

                                   2   oppose Plaintiffs’ fees motion, which is only tangentially related to merits of Plaintiffs’ claims.

                                   3   The County has not shown good cause for sealing. The County asserts that Exhibits A through D

                                   4   to the Declaration of Anne K. Brereton in Support of Opposition to Motion for Attorneys’ Fees are

                                   5   sealable in their entirety because they have been designated as “CONFIDENTIAL

                                   6   INFORMATION” by the County under the applicable Stipulated Protective Order, meaning that

                                   7   they contain “‘operations records, institutional records, [and] medical records’ that contain

                                   8   ‘security-sensitive information’ and ‘confidential personal information.’” Decl. of Anne K.

                                   9   Brereton in Support of Defendants Administrative Motion to File Under Seal at ¶ 2, ECF 644-1.

                                  10   However, “[r]eference to a stipulation or protective order that allows a party to designate certain

                                  11   documents as confidential is not sufficient to establish that a document, or portions thereof, are

                                  12   sealable.” Civ. L.R. 79-5(d)(1)(A). Moreover, Exhibits A through D are not operations,
Northern District of California
 United States District Court




                                  13   institutional, or medical records. They are copies of correspondence between counsel arguing

                                  14   about production of medical records. The documents do mention the names of individuals as to

                                  15   whom medical records are sought. To the extent the County contends that those names should be

                                  16   sealed, the sealing request is not narrowly tailored, because the names easily could be redacted and

                                  17   the remainder of the documents could be filed publicly. Accordingly, the sealing motion is

                                  18   DENIED WITHOUT PREJUDICE to a renewed sealing motion which is narrowly tailored.

                                  19          The Court notes that the County has filed all of its briefing in opposition to Plaintiffs’ fees

                                  20   motion as exhibits to its Administrative Motion to File Under Seal. This is so even with respect to

                                  21   the County’s Memorandum of Points and Authorities, as to which no sealing is requested. As a

                                  22   result, the County’s Memorandum of Points and Authorities cannot be viewed by the public. The

                                  23   County SHALL re-file its Memorandum of Points and Authorities in opposition to Plaintiffs’ fees

                                  24   motion in the public docket.

                                  25          IT IS SO ORDERED.

                                  26   Dated: February 13, 2019

                                  27                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  28                                                    United States District Judge
                                                                                         2
